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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF KENTUCKY
                                      LOUISVILLE DIVISION

ANGELA MINGUS,

       Plaintiff,

-vs-                                                    CASE NO.: 3:16-CV-00452-DJH

GLA COLLECTION COMPANY, INC.,

       Defendant
                                          /

                                NOTICE OF PENDING SETTLEMENT

         Plaintiff, ANGELA MINGUS, by and through her undersigned counsel, hereby notifies the Court

that the parties, Plaintiff, ANGELA MINGUS, and Defendant, GLA COLLECTION COMPANY, INC.,

have reached a settlement with regard to this case, and are presently drafting, and finalizing the settlement

agreement, and general release documents.         Upon execution of the same, the parties will file the

appropriate dismissal documents with the Court.

                                      CERTIFICATE OF SERVICE

         I hereby certify that on January 10, 2017, I electronically filed the foregoing with the Clerk of the

Court by using the CM/ECF system and that a Notice of this filing will be sent to the following by

operation of the Court’s Electronic Filing System: William E. Smith, III Bonterra Building, Suite 200,

3620 Blackiston Blvd. New Albany IN 47150.

                                                    /s/Frank H. Kerney, III, Esquire
                                                    Frank H. Kerney, III, Esquire
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